 

; U.S. DISTRICT COURT
Case 3:19-cr-00630-B Document 146 Filed 02/28/40 ReRfHERN DisTRIGTORTEXAS

 

 

 

 

 

FILED __
rto 20 da
UNITED STATES DISTRICT Pe,
NORTHERN DISTRICT OF TEX e116 DISTRICT Col
AS eRK, U.S. DISTRICT COURT,
DALLAS DIVISION By ff )
Deputy _
UNITED STATES OF AMERICA § ~
§
V. § Case No. 3:19-cr-00630-B *SEALED*
§
STEWART ALBERT ELIZARDO (10) §

DETENTION ORDER

Before the court is the government’s motion to detain the defendant pending further
proceedings. After consultation with counsel, the defendant knowingly and voluntarily waived
the right to a hearing on the motion at this time, subject to any reservation of rights on the waiver

form. The government’s motion for detention is therefore GRANTED.

The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of a United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States Marshal for appearance in

connection with court proceedings

SO ORDERED this February 28, 2020.

QV

REBECCA eee HERF —
UNITED STATES MA Conant JUDGE

 
